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(https://flvoicenews.com/)

Redefining Mainstream Media

Rep. Fine says alleged confrontation with
antisemetic group member shows ‘concerning’
escalation

FLORIDA NEWS (HTTPS://FLVOICENEWS.COM/CATEGORY/FLORIDA-NEWS/)

By Amber Jo Cooper (https://flvoicenews.com/author/amberjo-cooper/)
Published Oct. 4, 2023, 5:09 p.m. ET | Updated Oct. 4, 2023

Florida Rep. Randy Fine, R-Brevard County, Tallahassee, Fla, (Photo/F or a House of Representatives)

COCOA BEACH, Fla. — Rep. Randy Fine, R-Melbourne, was invoived in a confrontation on his
way to a public speaking event Wednesday where he said he was “jumped” by an alleged
member of an antisemitic group.

Fine was attending a publicly-advertised
(http://www.brevardfederatedrepublicanwomen.org/) event hosted by the Brevard
Federated Republican Women at the Space Coast Convention Center, when he had the
encounter.

Fine told Florida's Voice he got out of his car and was walking in when a guy ran up to him
with a camera, “got in my face,” introducing himself as a member of the Goyim Defense
League. Fine said the man asked him “why won't you tell the truth about the Jews?” during
the incident.

Fine said the event was not a Jewish event, or about antisemitism.

“It wasn't a Jewish Republican event. It wasn’t about antisemitism. This was just a routine
member speaking to his late women’s Republican club,” Fine explained.

“| think it's an escalation, that is just concerning,” Fine said.

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Fine shared images of the group advertising outside of the event with signage. Many of the
members were wearing masks.

“| just got jumped by a Nazi with a camera walking into a widely publicized speaking event
just now. I'm fine; not sure today will go down as one of his better days,” Fine said.

Rep. Randy Fine xX
@VoteRandyFine - Follow

| just got jumped by a Nazi with a camera walking into a
widely publicized speaking event just now. I'm fine; not
sure today will go down as one of his better days.

11:26 AM - Oct 4, 2023 from Cocoa, FL ®

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Law enforcement officials have previously
(https://www.volusiasheriff.gov/news/volusia-county-sheriff/video-volusia-central-
florida-united-against-hate-following-recent-spike-in-white-supremacist-anti-
jewish-activity.stml) said the group is a “white supremacist neo-Nazi hate group.” The
group operates GoyimTV, a video platform that streams “antisemitic content,” according
to the Anti-Defamation League.

Fine posted a picture on the social media platform X of what appeared to be officers
talking with the person he believes “jumped” him.

The Brevard County Sheriff's Office responded to the event and a case report was not
available at the time of publishing, according to law enforcement.

The reporting party told police a “hate group came in and stormed a meeting” at the
convention center and described the individuals as five to six men with pants, long sleeves,
and masks on, according to the dispatch report. The person told police the group was
setting up a large sign at the end of the property.

Fine is the only Jewish Republican elected official in the state. Florida's Voice previously
reported (https://flvoicenews.com/antisemitic-note-found-in-jewish-rep-fines-
driveway-after-lawmakers-pass-hate-crime-bill/) in April, Fine said his son found an
antisemitic note in their driveway days after House lawmakers approved legislation to
tackle hate crimes.

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NBC News previously reported (https://www.nbenews.com/news/us-news/neo-nazi-
groups-spew-hate-disney-world-orlando-officials-say-renal03186) the group is
behind “anti-semitic stunts” that have made headlines over the past year.

In neighboring Volusia County, Sheriff Mike Chitwood previously condemned
(https://weartv.com/news/local/sheriff-hate-group-honored-your-hit-list-florida-
jewish-volusia-county-mike-chitwood-bill-public-nuisances-litter-stalking-
projecting-messages-first-amendment-randy-fine-religion-goyim-defense~league)
the group calling them “pure evil” in February following numerous incidents.

According to the sheriff's office, the group dropped explicit hate propaganda in area
neighborhoods and parking lots, draped banners across International Speedway
Boulevard, and projected messages onto Daytona International Speedway. The group also
recently used megaphones to shout hate speech and terrorize people outside the Chabad
of South Orlando.

Fine co-sponsored the state’s latest antisemitism bill
(https://www.fisenate.gov/Session/Bill/2023/269/ByCategory) in May
(https://fivoicenews.com/jewish-rep-fine-touts-antisemitism-laws-after-neo-nazis-
reported-outside-disney/) which increases penalties for intimidating or threatening
someone based on religious or ethnic heritage.

“Gov. Ron DeSantis signed the harshest bill in America to hold these Nazis accountable
when they cross the line from speech to conduct, so anyone who thinks he, |, or any of
my @FLGOPMajority (https://twitter.com/FLGOPMajority) colleagues welcome these
idiots are almost as dumb as they are,” Fine said at the time.

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Founder and Editor in Chief Brendon Leslie left his job in mainstream news to practice journalism as it
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Brevard Rep. Randy Fine says run-in with
anti-Jewish extremist left him ‘a little
shaken’

ge Story by Eric Rogers, Florida Today « 4d

tate Rep. Randy Fine said he had an “unsettling” encounter
S Tuesday with a member of an anti-Jewish extremist group outside
a speaking engagement in Cocoa, warning it appeared to be an
escalation of recent antisemitic incidents in the area.

Fine, who is Jewish, said the man aggressively approached him with a
camera outside an unrelated meeting of the Brevard Federated
Republican Women on Tuesday at the Space Coast Convention Center
in Cocoa, where Fine was booked to speak.

"He runs up to me and he goes, I'm so-and-so — | don't remember his
name — with the Goyim Defense League," Fine told FLORIDA TODAY.
"He then proceeds to unleash a stream of invective about Jews and
wanted to know why | wouldn't debate him, or whatever."

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each morning.

The group is identified as an antisemitic hate group by the Anti-
Defamation League and the Southern Poverty Law Center. Members
are suspected of being behind dozens of anti-Jewish flyers bearing the
group's logo that were recently dropped in neighborhoods around
Indialantic, Melbourne Beach and West Melbourne.

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L. Aman wearing a shirt with the initials "GDL" (for Goyim Defense League, a reported anti-
Jewish hate group) and the Nazi SS "Totemkopf" skull symbol talks to deputies Tuesday
outside the Space Coast Convention Center in Cocoa.

Fine said the man was waving a similar flyer with antisemitic
propaganda during the encounter.

“He thrust this flyer in my face and asked me, ‘What part of this isn't
true?'" Fine said.

Fine said a group of three or four men wearing shirts bearing Nazi
symbols and the hate group's initials were still outside the convention
center displaying a large sign with anti-Jewish propaganda as he left.

© Related video: Kosher restaurant vandalised as Jewish community
fear rise in antisemitic attacks (Dailymotion)

https://www.msn.com/en-us/news/us/randy-fine-says-encounter-with-anti-jewish-extremist-left-him-a-little-shaken/ar-AA1hJbcO

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Previous coverage: Cape Canaveral man linked to neo-Nazi group

arrested; was part of Orlando demonstration

Pictures taken outside the conference center by attendee Kerry Takacs
show at least two men wearing red t-shirts with the GDL initials and
the "Totenkopf" or “death's head" skull, a symbol of the Nazi SS. One
of the men was wearing what Takacs described as similar to a “hunting
mask," she said, which she said spooked some event goers.

“| went up to them and said, you know, this is inappropriate," Takacs
said. "They weren't necessarily nasty or anything, but they weren't
leaving.”

Attendees called Brevard County Sheriff's deputies, who spoke with the
men, Takacs said. A sheriff's office dispatch report shows the group left
peacefully shortly after deputies arrived.

Fine said there was no physical contact during the initial encounter. He
had not decided whether to file a police report as of Tuesday
afternoon, he said. The incident left him a “little shaken up," he said.

Police have reported a spate of antisemitic incidents across the state in
recent years, mostly involving anti-Jewish demonstrations, the
dropping of flyers and display of other propaganda.

A Cape Canaveral man linked to an anti-Jewish hate group was
arrested last month after police said he zip-tied an antisemitic sign

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o in June.
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Fine called the most recent incident an "escalation" and warned the
confrontations could happen again.

“Now it's, ‘We're going to stalk politicians and ambush them,” he said.
“| think | got the better of them this time, but | don't think everyone is
like me and they'll probably be more prepared next time."

Investigation: Antisemitic literature left in West Melbourne driveways
overnight, prompting police probe

Eric Rogers is a watchdog reporter for FLORIDA TODAY. Contact Rogers
at 321-242-3717 or esrogers@floridatoday.com.

This article originally appeared on Florida Today: Brevard Rep. Randy
Fine says run-in with anti-Jewish extremist left him ‘a little shaken’

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